EXHIBIT L
    PRACTICE PARAMETER

Practice Parameters for the Use of Actigraphy in the Assessment of Sleep and
Sleep Disorders: An Update for 2007
Standards of Practice Committee, American Academy of Sleep Medicine
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  Timothy Morgenthaler, MD, 2Cathy Alessi, MD, 3Leah Friedman, PhD, 4Judith Owens, MD, 5Vishesh Kapur, MD 6Brian Boehlecke, MD, 7Terry Brown, DO, 8Andrew
Chesson, Jr., MD, 9Jack Coleman, MD, 10Teoﬁlo Lee-Chiong, MD, 11Jeffrey Pancer, DDS, 12Todd J. Swick, MD

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 Mayo Clinic, Rochester, MN; 2VA Greater Los Angeles Healthcare System-Sepulveda and University of California, Los Angeles; 3Stanford University
School of Medicine, Stanford, CA; 4 Rhode Island Hospital, Providence, RI; 5University of Washington, Seattle, WA; 6University of North Carolina,
Chapel Hill, NC; 7St. Joseph Memorial Hospital, Murphysboro, IL; 8LSU Health Sciences Center in Shreveport, Shreveport, LA; 9 Murfreesboro Medical
Center, Murfreesboro, TN; 10National Jewish Medical and Research Center, Denver, CO; 11Toronto, Canada; 12Houston Sleep Center, Houston, TX;

    Background: Actigraphy is increasingly used in sleep research and the                 with insomnia and hypersomnia, there is evidence to support the use of
    clinical care of patients with sleep and circadian rhythm abnormalities.              actigraphy in the characterization of circadian rhythms and sleep patterns/
    The following practice parameters update the previous practice param-                 disturbances. In assessing response to therapy, actigraphy has proven
    eters published in 2003 for the use of actigraphy in the study of sleep and           useful as an outcome measure in patients with circadian rhythm disorders
    circadian rhythms.                                                                    and insomnia. In older adults (including older nursing home residents), in
    Methods: Based upon a systematic grading of evidence, members of the                  whom traditional sleep monitoring can be difﬁcult, actigraphy is indicated
    Standards of Practice Committee, including those with expertise in the                for characterizing sleep and circadian patterns and to document treatment
    use of actigraphy, developed these practice parameters as a guide to the              responses. Similarly, in normal infants and children, as well as special
    appropriate use of actigraphy, both as a diagnostic tool in the evaluation            pediatric populations, actigraphy has proven useful for delineating sleep
    of sleep disorders and as an outcome measure of treatment efﬁcacy in                  patterns and documenting treatment responses.
    clinical settings with appropriate patient populations.                               Conclusions: Recent research utilizing actigraphy in the assessment
    Recommendations: Actigraphy provides an acceptably accurate es-                       and management of sleep disorders has allowed the development of
    timate of sleep patterns in normal, healthy adult populations and inpa-               evidence-based recommendations for the use of actigraphy in the clinical
    tients suspected of certain sleep disorders. More speciﬁcally, actigraphy             setting. Additional research is warranted to further reﬁne and broaden its
    is indicated to assist in the evaluation of patients with advanced sleep              clinical value.
    phase syndrome (ASPS), delayed sleep phase syndrome (DSPS), and                       Keywords: Circadian rhythms, actigraphy, advanced sleep phase syn-
    shift work disorder. Additionally, there is some evidence to support the use          drome, delayed sleep phase syndrome, shift work disorder
    of actigraphy in the evaluation of patients suspected of jet lag disorder and         Citation: Practice Parameters for the Use of Actigraphy in the As-
    non-24hr sleep/wake syndrome (including that associated with blindness).              sessment of Sleep and Sleep Disorders: An Update for 2007. SLEEP
    When polysomnography is not available, actigraphy is indicated to esti-               2007;30(4):519-529
    mate total sleep time in patients with obstructive sleep apnea. In patients

1. INTRODUCTION                                                                           circadian rhythm sleep disorders, sleep related breathing disor-
                                                                                          ders, determination of response to therapy, and in the evaluation
ACTIGRAPHY INVOLVES USE OF A PORTABLE DEVICE                                              of sleep patterns among special populations. This literature, in
THAT RECORDS MOVEMENT OVER EXTENDED PERI-                                                 combination with growing clinical experience with actigraphy,
ODS OF TIME, AND HAS BEEN USED EXTENSIVELY IN                                             led to the inclusion of actigraphy as a measure of sleep duration
the study of sleep and circadian rhythms. Since the publication of                        and sleep patterns in the diagnostic criteria for several speciﬁc
the last American Academy of Sleep Medicine (AASM) practice                               sleep disorders in the second edition of the International Clas-
parameters on the use of actigraphy,1 there has been an explosion                         siﬁcation of Sleep Disorders.2 Actigraphy is listed as a diagnostic
in the number of research articles utilizing actigraphy to estimate                       tool in the ICSD-2 primarily when sleep patterns must be assessed
sleep and circadian rhythms. In response to this new literature,                          over time, making polysomnography impractical. For example,
and the growing use of actigraphy in clinical sleep medicine, the                         the ICSD-2 diagnostic criteria for most circadian rhythm disor-
AASM Standards of Practice Committee (SPC) undertook the de-                              ders requires demonstration of abnormalities in the timing of the
velopment of these revised guidelines on the clinical use of this                         habitual sleep pattern using either actigraphy or sleep logs for
technology.                                                                               seven days or more. The ICSD-2 also suggests that actigraphy
   Since the last review, additional literature has been published                        may be used to document inconsistencies between objective and
that addresses the use of actigraphy in the evaluation of insomnia,                       subjective measures of sleep timing in paradoxical insomnia, and
                                                                                          as an aid in assessment of habitual sleep time and circadian pat-
Submitted for publication January 2007                                                    tern in patients with behaviorally induced insufﬁcient sleep syn-
Accepted for publication January 2007                                                     drome and idiopathic hypersomnia with and without long sleep
Address correspondence to: Standards of Practice Committee, American                      times. Actigraphy is additionally recommended as an adjunct to
Academy of Sleep Medicine, One Westbrook Corporate Center, Suite 920,                     the Multiple Sleep Latency Test to document a stable sleep pat-
Westchester IL 60154, Phone: (708) 492-0930, Fax: (780) 492-0943, Email:                  tern and adequate sleep times prior to the test.
aasm@aasmnet.org                                                                             However, it should be noted that although the ICSD-2 reﬂects
                                                                                          consensus among experts regarding disease classiﬁcation and di-
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agnostic criteria, there is great variability in the evidence support-         the researchers know whether the intervention is active drug or
ing these diagnoses and criteria. In some cases, only face validity            placebo. In the case of the evaluation of actigraphy in comparison
and clinical experience guided the criteria, while in others there             to a reference standard (such as polysomnography), this could
was a wealth of supportive research evidence. The purpose of the               be interpreted as requiring that the person scoring actigraphy is
present document is to provide an updated, evidence-based re-                  unaware of the results of polysomnography scoring. Few studies
view of the use and indications for actigraphy in the evaluation               actually speciﬁed whether this was the case. Given the technol-
of sleep and sleep disorders. The title of the 2002 actigraphy pa-             ogy used and the typical methodology currently used for scoring
rameter paper was modiﬁed from that of the ﬁrst one, published                 actigraphic recordings (computer executed scoring programs), it
in 1995, which was titled: “Practice Parameters for the Use of                 is unlikely that researchers remembered the results of the poly-
Actigraphy in The Clinical Assessment Of Sleep Disorders.” The                 somnograms or simultaneously reviewed both recordings. How-
2002 paper was titled: “Practice Parameters for the Role of Actig-             ever, even when using computer scoring of actigraphic data, most
raphy in the Study of Sleep and Circadian Rhythms: An Update                   situations require manual input of start and stop times. Thus, after
for 2002.” This change implied an emphasis on the uses of actig-               considerable discussion, the SPC elected the more conservative
raphy in research. However, the current parameter paper returns                approach and required an explicit declaration of blinding for a
to the original focus on an evidence-based review of the use of                study to receive a Level 1 rating. Some members of the Com-
actigraphy in the assessment and management of sleep disorders                 mittee felt that this may have underestimated the quality of the
in the clinical setting.                                                       evidence for use of actigraphy.
                                                                                  2. Reference standard. The majority of the studies evaluated
2. METHODS                                                                     actigraphy in comparison to a reference standard. In some cases
                                                                               these were objective measures, such as polysomnography or dim
    The SPC of the AASM commissioned among its members                         light melatonin onset; in other cases the reference was subjec-
those individuals with expertise in the use of actigraphy to con-              tive, including sleep logs and estimates of sleep quality. For the
duct this review. These content experts were appointed in January              purposes of this review, we chose appropriate reference standards
2006 to review and grade evidence in the peer-reviewed scientiﬁc               based on speciﬁc diagnostic categories. Reference standards for
literature regarding the use of actigraphy in sleep and circadian              insomnia included PSG and/or sleep logs; for circadian rhythm
rhythm disorders. A computerized search was performed using                    sleep disorders, PSG, phase markers, and/or sleep logs; for sleep
the search terms actigraph, actigraphy, actigraphic monitoring,                apnea, PSG; for restless legs syndrome and periodic limb move-
actigraphic recording, actimeter, actometer, wrist activity, rest              ments during sleep, PSG; for infants, caregiver reported observa-
activity, or sleep-wake and found 3641 titles. These were then                 tions; for elderly or demented persons, phase markers, sleep logs,
cross-checked with 32,211 titles found using the search terms:                 and/or caregiver reports; and for healthy controls, PSG, phase
sleep disorders, circadian rhythm, or sleep, to yield 1884 titles.             markers, or sleep logs. The inclusion of research using subjective
This total was then limited to those published between 2001 and                reference standards (such as sleep logs, self-reported sleep, and
2005 with a minimum of 8 subjects studied by actigraphy, those in              caregiver report) reﬂects the fact that many studies required the
English, those from the core clinical journals, and those with em-             study of patients over multiple sleep cycles or other circumstanc-
phasis on diagnosis (using the Ovid search engine) as a modiﬁer                es where traditional PSG as a reference standard was impracti-
to yield 155 articles. After review of abstracts from these articles           cal (e.g., infants and nursing home residents). As such, research
to determine if they met inclusion criteria, plus of articles identi-          which compares actigraphy to subjective reference standards
ﬁed by pearling, a total 108 articles (see accompanying evidence               does not necessarily imply a greater accuracy with either method,
table) were included. Initial data extraction, preliminary evidence            but it does provide evidence as to the level of agreement between
grading in accordance with the standards in Table 1, and initial               these methods. In addition, some studies did not compare actig-
data entry into evidence tables was performed by professionals                 raphy with a reference standard but were useful for this review
commissioned by the AASM SPC to expedite the review process.                   for other reasons. For example, some studies used actigraphy to
This classiﬁcation of evidence, based on suggestions of Sackett,3              assess treatment effects, or compared results from one actigraphy
is similar to that of the prior review and practice parameter paper            scoring algorithm against another. As in the prior 2002 actigra-
commissioned by the AASM SPC.1 Some modiﬁcations of evi-                       phy review, the SPC elected to include evidence from these stud-
dence level criteria were applied by the AASM SPC to this update               ies which did not compare actigraphy to a reference standard but
of the practice parameters for actigraphy to insure the evidence               otherwise provided important information for the current review.
classiﬁcation was in keeping with recent updates in the literature             However, there was a change in the grading criteria for these stud-
for the ﬁeld of evidence grading4 (see Table 1). All evidence table            ies, where those studies which did not directly compare results of
entries were reviewed and, if appropriate, revised by AASM SPC                 actigraphy with a reference standard within participants, but did
content experts. Thus, all evidence grading was performed by in-               provide data that allowed comparison of group means from actig-
dependent review of the article by two experts, including mem-                 raphy data and appropriate reference standards, could be scored
bers of the SPC; areas of disagreement were addressed, and, if                 as Level 3, rather than Level 4 or 5, as in the 2002 actigraphy
needed, the chair of the AASM SPC arbitrated the ﬁnal decision                 review (see Table 1).
on evidence level.                                                                3. What does actigraphy measure? Many studies used actig-
    Three methodological issues engendered considerable debate                 raphy data to estimate polysomnographic measures such as total
and discussion by the SPC:                                                     sleep time or wake after sleep onset. However, actigraphy simply
    1. Blinding. Typically, evidence graded as Level 1 according to            measures movement of a limb. Although it can be highly sensitive
Sackett criteria requires blinding. In evaluations of the therapeutic          and there are sophisticated algorithms that purport to accurately
efﬁcacy of medications, this means that neither the patients nor               estimate other parameters, it does not measure the same param-
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eters as an electroencephalogram. It therefore does not measure               are the same as, similar to, or an expansion of recommendations
sleep as it is commonly deﬁned5 and does not measure the subjec-              in the prior practice parameters are noted in the text.
tive experience of sleep (as do sleep logs and questionnaires). In
addition, systematic discrepancies between actigraphy and these               3. RESULTS AND RECOMMENDATIONS
measures have been documented. For example, actigraphy gener-
ally underestimates sleep onset latency because many subjects are                Of the 108 studies reviewed for this project (see evidence ta-
inactive and awake for a period of time prior to electroencepha-              ble), 44 used sleep logs alone as a reference standard, 16 used
lographically deﬁned sleep.6,7 Likewise, a recent epidemiologic               polysomnography alone, and 10 used both sleep logs and poly-
study reports systematic overestimation of sleep time by sleep                somnography with which actigraphic ratings could be objectively
logs as compared to actigraphy.8 On the other hand, insomnia pa-              compared. Thirty-eight studies did not compare actigraphy to a
tients frequently underestimate TST in their sleep logs.9 Reﬂect-             reference standard, as deﬁned in Table 1. Of the 70 studies that
ing these issues, in the current report, actigraphy will generally be         did compare actigraphy to a reference standard, 17 investigated
described as measuring “sleep pattern” (deﬁned as the circadian               patients with circadian rhythm sleep disorders, 15 studied patients
pattern of sleep and wakefulness over multiple sleep cycles) and              with insomnia (including two studies of depressed patients), 11
the presence or absence of increased wake time after sleep onset.             were studies of pediatric patients, 7 were studies of elderly sub-
The exception to this will be in the section where total sleep time           jects with and without dementia, 7 studied normal subjects, and
during one night of testing is estimated by actigraphy as an aid in           5 studied patients with sleep related breathing disorders. Eight of
the evaluation of sleep apnea and in the calculation of the apnea-            the 70 studies were based on a variety of other patient popula-
hypopnea index in patients with suspected sleep apnea.                        tions including 2 with nocturnal eating disorders, 2 with restless
   On the basis of this review the AASM SPC developed the                     legs syndrome, and one each of the following patient populations:
recommendations included in this paper. In all but one condi-                 alcoholics, atypical sexual behavior during sleep, cystic ﬁbrosis,
tion, that regarding the use of actigraphy in hypersomnia, the                and mixed hypersomnias.
recommendations were based on evidence from studies pub-                         The following are recommendations of the AASM SPC and
lished in peer-reviewed journals that were evaluated as noted                 BOD regarding the use of actigraphy in clinical practice. The re-
above and speciﬁed in the description accompanying each rec-                  viewed literature involved a variety of actigraphic monitors and
ommendation. In developing the recommendation regarding use                   scoring algorithms. When described in the article, the particular
of actigraphy in hypersomnia, there was insufﬁcient scientiﬁc                 actigraphic device and/or algorithm used are listed in the evi-
data, but the SPC felt clinical guidance was indicated for use of             dence tables. Clinicians using actigraphy in practice should en-
actigraphy in this condition, so the Rand/UCLA Appropriate-                   sure that they are familiar with the operational characteristics of
ness Method was used to develop the recommendation by iden-                   their equipment for the speciﬁc task employed.
tifying the degree of agreement among the sleep experts in the
SPC after review of the limited data available. The Rand/UCLA
Appropriateness Method10 combines the best available scientiﬁc                3.1 Use of actigraphy in the evaluation of sleep disorders
evidence with the collective judgment of experts to yield state-
ments regarding the appropriateness of performing procedures.                 3.1.1 Actigraphy is a valid way to assist in determining sleep pat-
Our expert panel rated the appropriateness of this indication in              terns in normal, healthy adult populations (Standard), and in pa-
two rounds by individually completing rating sheets. Based on                 tients suspected of certain sleep disorders. (Option-Guideline-
these ratings, we classiﬁed the indication as appropriate, uncer-             Standard; see specific parameter below)
tain, or inappropriate. We determined that if there were strict
agreement that the procedure was appropriate, it would be as-                    This is an expansion of the previous standard (that was limited
signed an “option” level recommendation. The certainty of all                 to the validity and reliability in detecting sleep in normal, healthy
the other recommendations was assigned according to available                 adult populations) to include speciﬁc patient populations, such as
evidence levels, as noted in Table 2.                                         patients with insomnia and those suspected of having circadian
   These practice parameters deﬁne principles of practice that                rhythm sleep disorders. Speciﬁc indications for actigraphy will
should meet the needs of most patients in most situations. These              be addressed in the parameters below. In the current review, ad-
guidelines should not, however, be considered inclusive of all                ditional evidence was identiﬁed supporting use of actigraphy in
proper methods of care or exclusive of other methods of care rea-             normal, healthy controls, and in patients with various sleep dis-
sonably expected to obtain the same results. The ultimate judg-               orders. Supportive studies includes nine with evidence Level 1;
ment regarding appropriateness of any speciﬁc therapy must be                 ten with Level 2; thirty-eight Level 3; six with Level 4 and six
made by the physician and patient, in light of the individual cir-            graded as Level 5. The conclusion in the preponderance of studies
cumstances presented by the patient, available diagnostic tools,              was that actigraphy was correlated with the reference standard (as
accessible treatment options, resources available, and other rel-             deﬁned in Table 1), especially for those studies rated by the SPC
evant factors.                                                                at higher evidence levels. Pearson r values were reported for total
   The AASM expects these guidelines to have an impact on pro-                sleep time comparisons between actigraphy and polysomnogra-
fessional behavior, patient outcomes, and, possibly, health care              phy in eight studies.7,9,11-17 The range was 0.15 to 0.92, with an
costs. These practice parameters reﬂect the state of knowledge at             simple average of 0.71. All but the lowest r values were statisti-
the time of publication and will be reviewed, updated, and revised            cally signiﬁcant. The lowest value was reported studying patients
as new information becomes available. This practice parameter                 suspected of sleep apnea.16 Three additional studies reported per-
paper is referenced, where appropriate, with articles to support the          centage agreement for total sleep time between actigraphy and
recommendation(s). New recommendations, as well as those that                 polysomnography of 90% in normal subjects,18 84% in patients
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  Table 1—Evidence Levels                                                          Table 2—AASM Levels of Recommendations
  1. Blind, prospective comparison of results obtained by actigra-                 Term      Deﬁnition
        phy to those obtained by a reference standard* on an appropri-             Standard  This is a generally accepted patient-care strategy, which
        ate spectrum of subjects and number of patients.                                     reﬂects a high degree of clinical certainty. The term
  2. Comparison of results obtained by actigraphy to those obtained                          standard generally implies the use of Level 1 evidence,
        by a reference standard* but blinding not speciﬁed, not pro-                         which directly addresses the clinical issue, or over-
        spective, or on a limited spectrum of subjects or number of pa-                      whelming Level 2 evidence.
        tients.                                                                    Guideline This is a patient-care strategy, which reﬂects a moderate
  3. Comparison of results obtained by actigraphy to the mean value                          degree of clinical certainty. The term guideline implies
        of a reference standard*, but not direct within-subject compari-                     the use of Level 2 evidence or a consensus of Level 3
        son, or otherwise methodologically limited.                                          evidence.
  4. Actigraphy compared to nonstandard reference or group differ-                 Option    This is a patient-care strategy, which reﬂects uncertain
        ences shown:                                                                         clinical use. The term option implies either inconclusive
        a. Adequate comparison of results obtained by actigraphy to                          or conﬂicting evidence or conﬂicting expert opinion.
           those obtained by a non-standard reference*; or
        b. Actigraphy not compared to any reference, but actigraphy                The AASM Board of Directors (BOD) approved these recommenda-
           results demonstrated ability to detect signiﬁcant difference            tions. All members of the AASM SPC and BOD completed detailed
           between groups or conditions in well-designed trial.                    conﬂict-of-interest statements and were found to have no conﬂicts of
  5. Actigraphy not adequately compared to any reference, and ei-                  interest with regard to this subject.
        ther
        a. Actigraphy not used in a well-designed trial, or
        b. Actigraphy used in such a trial but did not demonstrate abil-
                                                                                 level was 3–5 in most studies included in the current review, there
           ity to detect signiﬁcant difference between groups or condi-          was good agreement among studies that actigraphy data correlate
           tions.                                                                with polysomnography (when used), sleep logs, and markers of
  * Reference standards for actigraphic evaluation of sleep and cir-             circadian phase in patients with circadian rhythm sleep disorders.
  cadian rhythms varied by diagnostic category, and included gener-              There were two Level 3 studies of ASPS or DSPS patients.20,21
  ally accepted “gold standards,” applied in an acceptable manner.               There were four studies of shift work; three were Level 3,22-24 and
  By diagnostic category, reference standards for insomnia included              one was Level 4b.25 There was one Level 3 study of blind sub-
  PSG and/or sleep logs; for circadian rhythm sleep disorders, PSG,              jects.26 There was one Level 327 and one Level 4b25 study of jet
  phase markers, and/or sleep logs; for sleep apnea, PSG; for restless
                                                                                 lag. Finally, there was one Level 4b study of patients with non-
  legs syndrome and periodic limb movements during sleep, PSG; for
  infants, caregiver reported observations; for elderly or demented
                                                                                 24-hr sleep/wake rhythm.28
  persons, phase markers, sleep logs, and/or caregiver reports; and for
  healthy controls, PSG, phase markers, or sleep logs. Nonstandard               3.1.3 When polysomnography is not available, actigraphy is indi-
  references include such items applied outside their diagnostic cat-            cated as a method to estimate total sleep time in patients with ob-
  egory, or other experimental monitors.                                         structive sleep apnea syndrome. Combined with a validated way
                                                                                 of monitoring respiratory events, use of actigraphy may improve
with sleep related breathing disorders,6 and 84% in infants.19                   accuracy in assessing the severity of obstructive sleep apnea com-
   With the exception of the study by Penzel et al,16 most authors               pared with using time in bed. (Standard)
concluded that actigraphy is signiﬁcantly correlated with poly-
somnography in the measurement of total sleep time. For exam-                       This parameter is a modiﬁcation of the previous parameter
ple, Vallieres and Morin9 concluded, “these results suggest that                 regarding use of actigraphy in evaluation of sleep disordered
actigraphy is a reliable method for assessing sleep-wake patterns                breathing, and is based on three Level 1 studies.6,14,29 Since the
and for monitoring treatment response among insomnia patients.”                  last parameter paper, several additional studies have evaluated
In a study of normal subjects, de Souza et al12 reported that “ap-               both general purpose actigraphs and specially optimized actig-
plying automatic sleep scoring to motor activity resulted in a                   raphy in patients with sleep disordered breathing. Many of the
good accuracy (91%) with both the algorithms … in comparison                     studies have focused on the accuracy or usefulness of actigraphy
to PSG.” In general, the agreement between actigraphy and poly-                  in estimating total sleep time (TST) in patients with sleep apnea
somnography was higher than the agreement between actigraphy                     and combining this with tests of respiratory function in order to
and sleep logs.                                                                  calculate the most common measure of apnea severity, the apnea-
                                                                                 hypopnea index (AHI). Actigraphy can provide an assessment of
3.1.2 Actigraphy is indicated to assist in the evaluation of patients            TST (as it does in some other disorders), and when used along
suspected of advanced sleep phase syndrome (ASPS), delayed                       with a valid test for the presence and type of breathing abnor-
sleep phase syndrome (DSPS), and shift work sleep disorder                       mality, can improve the calculation of AHI compared with us-
(Guideline); and circadian rhythm disorders, including jet lag and               ing time in bed. Several other studies used actigraphy as part of
non-24-hour sleep/wake syndrome [including that associated with                  research protocols evaluating sleep pattern of patients with OSA
blindness] (Option)                                                              without actually comparing actigraphy results to a sleep standard.
                                                                                 No studies propose actigraphy alone as a method of determine the
   This is a modiﬁcation of the recommendation from the prior                    presence of sleep apnea.
practice parameter paper and expands the role of actigraphy in the                  One study (Level 1)14 found a high correlation (r = 0.90, P =
diagnosis of circadian rhythm sleep disorders. The use of actigra-               0.0001) between TST measured by PSG (pTST) and TST esti-
phy for evaluation of circadian rhythm disorders is based on ad-                 mated by actigraphy (aTST) in patients with obstructive sleep
ditional evidence included in this review. Although the evidence                 apnea syndrome. Agreement using the Bland and Altman method
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found the difference between pTST and aTST was only 2.5 min,                  the study was otherwise methodologically limited for estimating
but there were notable overestimations and underestimations in                the utility of actigraphy.
three of the 26 patients. In another study, Elbaz et al29 (Level 1)
also found excellent correlation between pTST and aTST (r =                   3.1.4. Actigraphy is indicated as a method to characterize circadian
0.74, P <0.0001). In the latter study, the AHI, calculated as the ap-         rhythm patterns or sleep disturbances in individuals with insomnia,
neas plus hypopneas per hour of actigraphically determined sleep              including insomnia associated with depression. (Option)
(aAHI) was compared with PSG results, again showing excellent
correlation (r = 0.976, P <0.0001). The aAHI was more accurate                   This is similar to the prior recommendation. There were two
than an AHI determined by dividing the apneas plus hypopneas by               Level 5b studies33,34 characterizing sleep patterns in individuals
time in bed, indicating that the addition of actigraphy improved              with complaints of insomnia. There were two Level 335,36 studies
accuracy when estimating the AHI without EEG measured sleep                   and one Level 4b37 study indicating that actigraphy is a way to
time. In both of these studies, the accuracy of actigraphy evalu-             characterize sleep or circadian rhythms in patients with a depres-
ated using Bland Altman methods declined in patients with more                sive disorder.
severe sleep apnea, but in the study of Elbaz et al,29 only 1 of
20 patients were overclassiﬁed with respect to OSA severity by                3.1.5 Actigraphy is indicated as a way to determine circadian pat-
the aAHI (severe instead of moderate severity), and none were                 tern and estimate average daily sleep time in individuals complain-
underclassiﬁed. Thus, it appears that even though the estimate of             ing of hypersomnia (Option).
TST becomes less accurate as apneas and hypopneas increase, the
actigraphically derived AHI in most cases accurately classiﬁes                   There were no studies identiﬁed that compared actigraphy ver-
moderate or severe sleep apnea. Actigraphically estimated TST in              sus the clinical history plus sleep logs (or another reference stan-
milder cases of sleep apnea appear to be quite accurate, especially           dard) to estimate mean sleep time or sleep pattern when evaluating
if using specially optimized actigraphs and evaluation algorithms.            patients with hypersomnia as a complaint. One Level 3 study eval-
These Level 1 studies were performed in a sleep laboratory, and               uated patients diagnosed with a variety of hypersomnia disorders,
extrapolation to the home environment could introduce issues not              including narcolepsy, idiopathic hypersomnia, hypersomnia asso-
anticipated. However, most other studies reviewed for this paper              ciated with psychiatric disorders, HIV-encephalopathy, brainstem
involved use of actigraphy outside the sleep laboratory and had               stroke, periodic hypersomnia, postviral illness, and head trauma.38
low data failure rates. Because of the complexity of data analysis,           Actigraphy was used to determine the average daily sleep time over
evaluations of sleep disordered breathing severity that use actig-            one week prior to evaluation with PSG and MSLT, and biochemical
raphy to estimate TST should be interpreted with caution by ex-               assessment. Actigraphy estimated mean sleep time varied between
perienced sleep clinicians who are familiar with the performance              diagnostic groups, with patients with hypersomnia associated with
characteristics of the particular actigraphic system employed.                psychiatric disorders sleeping longer on average (P <0.037 by Wil-
    Another Level 1 study evaluated 228 patients using a special              coxon rank sums method, our own analysis of their data). Acti-
actigraphic system optimized to patients with suspected sleep dis-            graphically determined TST averaged ≥9 hours per day in 11 of 27
ordered breathing.6 Using epoch by epoch comparison of sleep                  patients, including all but one patient with hypersomnia associated
versus wake determined actigraphically versus PSG across all                  with psychiatric disorders, and none of the patients diagnosed with
subjects, sensitivity of detecting sleep was 88.8%, speciﬁcity                narcolepsy or idiopathic hypersomnia. The shortest mean aTST
was 69.5%, and agreement was 84%. Sensitivity and agreement                   was 7.44 hours per day in the idiopathic hypersomnia group. The
tended to go down with increasing SDB levels (from 91% to 85%,                authors indicated that history plus the results of actigraphy, PSG,
and 86% to 79%, respectively). Speciﬁcity was less affected by                and MSLT contributed to the diagnosis of disorders of hypersom-
increasing SDB levels (ranged between 68% and 71%). Consider-                 nolence, but the exact role of actigraphy in interpreting MSLT or
ing all subjects, aTST versus pTST was 690 ± 152 and 690 ± 154                assigning diagnoses was not described.
minutes, respectively (P >0.05). However, a Level 2 study16 utiliz-              The complaint of sleepiness must be evaluated in the context of
ing the same optimized device found no signiﬁcant correlation be-             recent sleep duration and pattern before a judgment can be made
tween pTST and aTST. Bland-Altman comparison showed much                      as to the pathologic nature of the complaint. The guidelines de-
scatter, with mean of the differences in TST = 12.17 + 64.5 min.              veloped for the MSLT39 indicate that sleep logs may be obtained
Another (Level 4b) study30 using the same device found a good                 for 1 week prior to the PSG/MSLT to assess sleep-wake sched-
correlation between the arousal index estimated from a device us-             ules and assist in interpretation of results, while the ICSD-2 indi-
ing peripheral arterial tonometry changes to detect arousal and ac-           cates that “the sleep-wake schedule must have been standardized
tigraphy to estimate sleep time, and the arousal index determined             for at least seven days before the polysomnographic testing (and
by conventional PSG methods (r = 0.87, P <0.0001). In this study              documented by sleep log or actigraphy)” in order to properly in-
there was no report of actual TST or number of PAT arousals; only             terpret an MSLT. However, some individuals, such as those with
the ratio was reported. Therefore, the contribution of actigraphy             impaired cognition, literacy, or motivation may be unable to keep
to the reported correlation could not be evaluated.                           accurate sleep logs, and both over- and underreporting of total
    Finally, two studies used actigraphy to estimate TST in patients          sleep time and pattern have been of concern. Therefore, the com-
with sleep disordered breathing without formal comparison to an-              mittee used the Rand/UCLA Appropriateness Method (described
other measure of TST. Larkin et al (Level 4b)31 found that mean               above) to determine expert consensus regarding this parameter
TST correlated with changes in C-reactive protein in adolescents              on the indications for use of actigraphy in hypersomnia. There
with sleep apnea. Noseda et al (Level 5a)32 used leg actigraphy to            was agreement that actigraphy is an appropriate way to ensure
measure treatment-induced changes in leg activity in patients with            stable sleep patterns and adequate sleep duration prior to PSG
sleep disordered breathing, and did detect treatment effects, but             and MSLT.
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3.2 Use of actigraphy in assessing the response to therapy of sleep            older adults living in the community is based on two additional
disorders                                                                      Level 3 studies.51,52 In a placebo-controlled trial51 of melatonin
                                                                               treatment in healthy older adults presenting either with or without
3.2.1 Actigraphy is useful as an outcome measure in evaluating the             sleep complaints, sleep diaries were used as the reference stan-
response to treatment for circadian rhythm disorders. (Guideline)              dard. There was little difference in subjective and actigraphically
                                                                               estimated sleep quality on either measure in either group as a re-
   This is the same as the recommendation in the previous prac-                sult of melatonin treatment. In the other study,52 both in-labora-
tice parameters paper. Additional evidence shows that changes in               tory and at-home measures were taken to determine the effects of
actigraphy measures are in agreement with other outcome mea-                   daytime naps on nocturnal sleep and performance. In the at-home
sures in the assessment of response to intervention in patients                condition, TST and sleep efﬁciency were consistent when com-
with circadian rhythm sleep disorders.                                         pared between actigraphy and sleep log results.
   There were two additional Level 3 studies using actigraphy as
an outcome measure in the treatment of jet lag40,41 and one addi-              3.3.2 Actigraphy is indicated for characterizing and monitoring
tional Level 3 study using actigraphy as an outcome measure in a               sleep and circadian rhythm patterns and to document treatment
study of shift work.42                                                         outcome (in terms of sleep patterns and circadian rhythms) among
                                                                               older nursing home residents (in whom traditional sleep monitor-
3.2.2 Actigraphy is useful for evaluating the response to treatment            ing by polysomnography can be difficult to perform and/or inter-
for patients with insomnia, including insomnia associated with de-             pret). (Guideline)
pressive disorders. (Guideline)
                                                                                  This is a modiﬁcation of the recommendation of the previous
   This is the same as the recommendation from the previous                    practice parameter paper. The evidence for the use of actigraphy
practice parameter paper. There were one additional Level 1,43                 to characterize and monitor sleep and circadian rhythm patterns
two Level 2,9,44 two Level 3,45,46 and two Level 5b studies,33,34 in-          among older adults living in nursing homes is based on ﬁve ad-
dicating that actigraphy is useful in detecting treatment response             ditional studies in the nursing home setting. Two Level 3 stud-
in people diagnosed with insomnia. In addition there were two                  ies,53,54 two Level 4 studies,55,56 and one Level 5b study57 were
Level 347,48 studies indicating that actigraphy is a useful adjunct in         identiﬁed. Several studies used observer ratings as the reference
detecting treatment response in people diagnosed with disrupted                standard for comparison with actigraphy. One Level 3 study53
sleep or circadian rhythms associated with a depressive disorder.              found that although results were similar between nursing staff
                                                                               and actigraphy for some sleep measures, nursing staff noted less
3.3 Use of actigraphy in special populations and special situations            sleep disruption during the night (WASO) than was recorded
                                                                               by actigraphy. Another Level 3 study54 was able to discriminate
3.3.1 Actigraphy is useful for characterizing and monitoring sleep             diagnostic subtypes among dementia patients according to pat-
and circadian rhythm patterns and to document treatment outcome                terns of activity and core body temperature rhythms. Two Level
(in terms of sleep patterns and circadian rhythms) among older                 4 studies examined patterns of rest/activity in relation to presence
adults living in the community, particularly when used in conjunc-             or absence or Level of dementia. A Level 4b study55 found that
tion with other measures such as sleep diaries and/or caregiver                actigraphic rest/activity patterns differentiated patients with mild
observations. (Guideline)                                                      dementia from those advanced to the moderate stage. Similarly,
                                                                               a Level 4a study56 was able to distinguish demented from non-
   This recommendation is a modiﬁcation of the previous practice               demented subjects on the basis of daytime and nocturnal activity
parameter paper. The evidence for use of actigraphy to character-              levels. Further they found that functional ability was associated
ize and monitor sleep and circadian rhythm patterns among older                with diurnal patterns of activity.
adults living in the community is based on two additional studies                 The evidence for use of actigraphy to document treatment out-
identiﬁed in the current review that addressed the use of actig-               come (in terms of sleep patterns and circadian rhythms) among
raphy in normal older adults. There were one Level 249 and one                 older nursing home residents is based on 13 additional treatment
Level 350 study using actigraphy to evaluate sleep and circadian               outcome studies, including two Level 217,58 and three Level 3
rhythms in normal older people. In the Level 2 study by Ceolim et              studies.59-61 Furthermore, there were six Level 462-67 and two Level
al49 there were signiﬁcant correlations (P <0.005) between sleep               5b68,69 studies evaluating treatment outcomes in dementia or nurs-
log and actigraphic variables (e.g., TST) collected for 23 days                ing home populations. One Level 2 study58 tested the effects of
in over 76% of a sample of healthy older people. In the Level 3                withdrawal of antipsychotic medication on sleep/wake activity
study of a sample of 103 community-dwelling older adults,50 ac-                and on behavioral and psychological symptoms in nursing home
tigraphic measures correlated with subjective reports in subjects              residents.58 Actigraphic results were compared with psychiatric
without sleep complaints but not in those complaining about their              inventory responses, and restlessness was signiﬁcantly associated
sleep. Although able to distinguish between noncomplaining good                with mean 24-hr actigraphic measures of activity (r = 0.60, P =
sleepers and complaining poor sleepers, actigraphy was not able                0.001) and nocturnal sleep problems were signiﬁcantly associ-
to distinguish between other categories of sleepers in this sample.            ated with nighttime activity levels. (r = 0.60, P = 0.001). In an-
Results of this study provided evidence of actigraphy’s ability to             other Level 2 study17 of a randomized controlled trial comparing
determine TST and sleep onset latency (in women only) for those                the effects of two different doses of melatonin and placebo on
not able to provide sleep diary information.                                   sleep in Alzheimer disease patients found no signiﬁcant differ-
   The evidence for use of actigraphy to document treatment out-               ences on sleep outcome by actigraphy between treatment groups.
come (in terms of sleep patterns and circadian rhythms) among                  However, a subset of seven subjects had simultaneous actigraphy
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and PSG for a period of 18 days and the TST estimated by actig-               tween light exposure, sleep patterns, and crying in healthy 6-12
raphy correlated highly with PSG ( r= 0.92, P <0.01). In addition,            week old infants found overall consistency between actigraphic
a Level 3 study59 testing the effects of bright light in a nursing            measures of nocturnal activity and parental reports of sleep. A
home sample found signiﬁcant improvements in sleep time and                   third Level 3 study documented some differences in activity-rest
wake time within nocturnal sleep according to actigraphy which                cycles but not in other sleep parameters during the ﬁrst week of
paralleled nursing staff ratings.                                             life in infants grouped according to delivery mode (planned C-
                                                                              section, emergency Caesarian section, and normal spontaneous
3.3.3 Actigraphy is indicated for delineating sleep patterns, and to          vaginal delivery).74 One Level 4b study75 found some signiﬁcant
document treatment responses in normal infants and children (in               differences (i.e., increased variability ultradian cycles, diurnal
whom traditional sleep monitoring by polysomnography can be dif-              sleep duration) in actigraphically derived activity-rest behaviors
ficult to perform and/or interpret), and in special pediatric popula-         between healthy pre-term and full-term infants, while another76
tions. (Guideline)                                                            Level 4b study used actigraphy to characterize inter-individual
                                                                              variability in activity-rest behavior and differences in sleep du-
   This recommendation is a modiﬁcation of the recommendation                 ration between pre- and full-term infants. Actigraphy was also
from the previous practice parameter paper.1 This recommenda-                 used in a Level 4b study77 to document a signiﬁcant increase in
tion is based on 23 additional studies identiﬁed in the current re-           nocturnal activity counts associated with rapid ascent to moderate
view that addressed the use of actigraphy in children. There were             altitudes in a groups of infants and young children (4-33 months),
a total of ﬁve Level 2 studies (no studies were identiﬁed as Level            and in another Level 4b study78 which examined the development
1, due to the absence of information regarding blinding, as de-               of circadian rhythms in newborns by comparing sleep-wake pat-
scribed above), seven Level 3 studies, nine Level 4 studies, and              terns longitudinally in newborns and their mothers at 3, 6, 9, and
two Level 5 studies of actigraphy in pediatric populations. These             12 weeks. A Level 5 study19 used actigraphy to determine sleep-
studies included a range of age groups (infant through adoles-                ing position and measure sleep-wake patterns in healthy 34-42
cent), as well as a number of different medical, psychiatric, and             week old infants. Finally, a Level 3 study79 assessing differences
sleep disordered diagnostic groups, and used a variety of refer-              in sleep patterns in parents of newborns, found that mothers had
ence standards.                                                               less actigraphically documented sleep at night and more during
   In terms of age groups, the largest numbers of studies (10)                the day compared to fathers, that breastfeeding was associated
were focused on infants (typically between 6 and 12 months). One              with more WASO, and that working mothers had an average 6-7
Level 2 study70 compared a parent-report infant sleep question-               minutes less sleep in 24 hours than nonworking mothers.
naire (Brief Infant Sleep Questionnaire – BISQ) with actigraphy                  Older children and adolescents were subjects in several other
and daily sleep logs to assess correspondence between measures,               studies. A Level 4b study80 which assessed the ability of measures
as well as to determine differences between a control and clini-              of emotional intensity (maternal rating, vagal functioning) to pre-
cal sample of infants referred to a sleep clinic. Signiﬁcant but              dict actigraphically determined sleep problems in healthy school-
moderate correlations were found between BISQ and actigraphic                 aged children, found that increased emotional intensity was cor-
measures of sleep onset latency (SOL) (r = 0.54, P <0.001) and                related with reduced nocturnal sleep and increased night activity.
night wakings (r = 0.42, P <0.0001), with nocturnal sleep dura-               A Level 2 study81 examined the validity of a self-report adolescent
tion showing lower agreement (r = 0.23, P <0.05). In contrast, the            sleep survey by comparing retrospective self-report estimates of
most robust correlations found between actigraphy measures and                sleep patterns (TST, bedtime, and waketime on weekends and
the reference standard (daily sleep logs) were found for SOL (r =             weekdays) with sleep parameters measured by both actigraphy
0.96, P <0.0001) and nocturnal TST (r = 0.87, P <0.0001), rather              and sleep logs over a subsequent week. Survey-estimated school-
than night wakings (r = 0.49, P <0.0001). There were also some                night total sleep times and wake times did not differ from diary
signiﬁcant systematic differences between actigraphic and sleep               and actigraphy measures, although survey bedtimes were slightly
log measures, with actigraphy providing lower estimates of sleep              earlier. On weekends, survey-reported sleep duration was about
duration and higher estimates of night wakings compared to sleep              30 minutes longer than estimated by sleep diaries (t = 4.26, P
diaries. Only one actigraphic measure, number of night wakings,               <0.001) and actigraphy (t = 5.25, P <0.001), and wake times were
had a unique contribution in discriminating between the control               about 55 minutes longer. Overall, school- and weekend-night sur-
and clinical samples (F=6.29, P <0.05).                                       vey variables were signiﬁcantly correlated with both diary and ac-
   A different reference standard, direct observation of infant be-           tigraphy variables, but the strength of the associations were con-
havioral states, was used in a Level 2 study using actigraphy in as-          sistently greater for school-night variables than for corresponding
sessing sleep-wake rhythm and sleep structure in healthy 1, 3, and            weekend-night variables. However, it should be noted that there
6 month old infants.71 The overall agreement between measures                 was no attempt to directly compare actigraphy and the reference
in scoring sleep and wake was satisfactory (between 87% and                   standard sleep log variables in this study; in fact, it was noted in
95%) after 3 months of age, but agreement was less than 73% at 1              the Methods section that the procedure (“Sadeh algorithm”) used
month. Reliable actigraphic distinction, however, between active              to analyze actigraphy “relies heavily upon the concurrent behav-
and quiet sleep could not be made in any of the three age groups.             ioral self-report obtained by the sleep diaries,” and thus the two
   Healthy term 6-8 week old infants were also the subjects in                measures would be expected to be highly correlated.
a Level 3 study72 which assessed the effects of infant massage                   Actigraphic measures of sleep were also used in studies of sev-
on the development of circadian rhythms by comparing actigra-                 eral pediatric patient populations with chronic medical conditions.
phy and salivary melatonin levels; peaks of period activity were              One was a Level 2 study that primarily assessed the relationship
delayed in the intervention group compared to controls. Another               between sleep disturbance and pulmonary function in a group of
Level 3 study73 which longitudinally assessed the relationship be-            children with cystic ﬁbrosis (CF) but also compared actigraphy
SLEEP, Vol. 30, No. 4, 2007                                             525              Practice Parameters for the Use of Actigraphy—Morgenthaler et al
to parent- and self-report data in this population.82 There was a            4. RECOMMENDATIONS FOR FUTURE RESEARCH
signiﬁcant correlation between sleep duration (the only parameter
reported) as measured by actigraphy with sleep period reported by            4.1
parents (r = 0.79, P<0.0001) and by children (r = 0.71, P <0.0001)
in the control group, but not in the CF group (r = 0.29, P = 0.06;              Additional research is needed which compares results from
r = 0.18, P = 0.2, respectively). A Level 3 study83 used actigraphy          different actigraphy devices and the variety of algorithms used
to conﬁrm sleep instability, frequent microarousals, and increased           to evaluate actigraphy data in order to further establish standards
daytime napping in a group of children with Smith-Magenis syn-               of actigraphy technology. Well designed studies using actigraphy
drome (a genetic syndrome frequently characterized by self-in-               should describe the device and the analysis algorithms used.
jury and sleep disturbances). Actigraphy was also used to measure
sleep disturbance in a Level 4b study84 of blind adolescents with            4.2
and without optic nerve disease, which documented that greater
wake time instability was associated with optic nerve disease.                 There is need for additional study addressing the reliability and
   In studies of children with psychiatric disorders, one Level 3            validity of actigraphy compared to reference standards, such as
study85 used actigraphy to study sleep patterns in children with             polysomnography, and the circadian rhythms of basic physiologic
ADHD with and without sleep problems compared to controls,                   functions, such as temperature, cortisol, and melatonin levels.
and found signiﬁcantly delayed sleep onset and offset in children
with ADHD and insomnia, suggesting a circadian rhythm abnor-                 4.3
mality. A Level 4b86 intervention study used actigraphy to docu-
ment treatment response (decrease in mean nocturnal activity) to                Further research is needed to establish standards for setting
melatonin and rebound sleep disturbance following discontinua-               start and stop times of the sleep and wake periods when using
tion in children with Asperger syndrome. Another Level 4b35 study,           actigraphy, including techniques such as event markers or sleep
which used actigraphy to evaluate locomotor activity and circadian           diaries, and other methods in the study of populations where these
rest-activity cycles in children with major depression compared to           techniques may not be valid (e.g., dementia patients, nursing
controls, found signiﬁcant differences related to gender and age but         home setting). For example, difﬁculty in establishing a standard
not group assignment. Finally, a retrospective chart review (Level           for setting start time is likely one factor contributing to the difﬁ-
5 study)87 of children with ADHD referred to a sleep center showed           culty in correlating certain sleep variables (especially sleep onset
a high incidence (94%) of sleep onset delay and high night-to-night          latency) measured by actigraphy with ﬁndings from PSG.
variability in sleep patterns in the small percentage (16%) of sub-
jects for whom actigraphy data was available.                                4.4
   There were also several studies which used actigraphy to as-
sess sleep in children with sleep disorders. Agreement between                  Well-designed studies should include technical details related
periodic limb movement during sleep scored by actigraphy and                 to the administration and scoring of actigraphy. In much of the ex-
those detected with anterior tibialis EMG was assessed in a Level            isting literature, there is an inadequate description of whether vi-
2 study of ninety-nine 4- to 12-year-old children.88 It was con-             sual inspection of data is performed, how missing data is handled,
cluded that this actigraphic measurement of PLMs in children was             and other important decisions made in the analysis of actigraphy
not sufﬁciently accurate to permit use in clinical settings. Spe-            data. More research is needed to assess the reliability of actigra-
ciﬁcally, actigraphy tended to overestimate PLMs compared to                 phy under various clinical circumstances, and to determine what
EMG, and, although the application of a correction factor based              parameters may be used to assess the quality of actigraphic data.
on average number of EMG-derived movement during arousals
improved agreement between measures somewhat, different cor-                 4.5
rection factors were required for each of the different diagnostic
groups (SDB, primary snoring/normal, and periodic limb move-                    Further work is needed to clarify the relative and unique con-
ment disorder), limiting its utility as a diagnostic measure. One            tributions of actigraphy, polysomnography and sleep logs in the
Level 4b study31 of adolescents with SDB found sleep duration                diagnosis of sleep disorders and measurement of treatment ef-
was signiﬁcantly negatively correlated with C-reactive protein,              fects. For example, besides estimates of wake and sleep times,
body mass index, and AHI.                                                    there are various other data generated by commercially available
   Finally, one Level 2 study89 compared actigraph placement                 analysis software, such as fragmentation index and movement in-
(waist vs nondominant wrist) in estimating sleep duration in                 dex, for which clinical correlates are not well described.
school-aged children. Although diurnal activity was lower with
waist placement, the overall minute-by-minute agreement of                   4.6
sleep-wake states between placement sites was 92.5% (range
82.3%–97.7%), and nocturnal agreement was 95.6%. None of the                    The use of actigraphy in hypersomnia populations, especially
mean sleep estimates (sleep duration, sleep latency, sleep percent-          as an adjunct to the Multiple Sleep Latency Test, should be tested
age, sleep efﬁciency) were signiﬁcantly affected by placement                to establish an evidence-based recommendation for the use of
site, although there were some inter-individual differences in               actigraphy in the clinical evaluation and management of hyper-
agreement (sleep duration and latency). Another Level 3 study90              somnia.
assessing compliance with imposed sleep schedules in the home
setting in school-aged children demonstrated signiﬁcant differ-
ences in actigraphically measured sleep according to condition.
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